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    1    MICHAEL E. GATES, City Attorney (SBN 258446)
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         Email: Ryan.Lumm@surfcity-hb.org
    6            Connor.Hyland@surfcity-hb.org
    7    Attorneys for Defendant,
         City of Huntington Beach
    8
    9
                               UNITED STATES DISTRICT COURT
  10
                              CENTRAL DISTRICT OF CALIFORNIA
  11
  12
         NEW CINGULAR WIRELESS PCS,                    Case No.: 8:23-cv-01972-FWS (JDEx)
  13
         LLC, D/B/A AT&T MOBILITY, a
  14     Delaware limited liability company,
  15                                                   ANSWER TO FIRST AMENDED
               Plaintiff,                              COMPLAINT BY DEFENDANT
  16                                                   CITY OF HUNTINGTON BEACH
         vs.
  17
  18     CITY OF HUNTINGTON BEACH,
  19
         CALIFORNIA.

  20           Defendant.
  21
  22           Defendant City of Huntington Beach (hereinafter “Defendant”), hereby
  23     answers Plaintiff New Cingular Wireless PCS First Amended Complaint, for itself,
  24     and for no other defendant, as follows:
  25           1.     Answering Paragraph 1, Defendant admits the allegations contained
  26     therein.
  27           2.     Answering Paragraph 2, Defendant admits the allegations contained
  28     therein.


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    1          3.       Answering Paragraph 3, Defendant admits the allegations contained
    2    therein.
    3          4.       Answering Paragraph 4, Defendant denies the allegation that the
    4    Proposed Facility is the least intrusive means to close AT&T’s alleged coverage
    5    gap. As to the remainder of the allegations, Defendant lacks sufficient information
    6    to form a belief about the truth of the allegations, and on that basis, denies those
    7    allegations.
    8          5.       Answering Paragraph 5, Defendant lacks sufficient information to form
    9    a belief about the truth of the allegations, and on that basis, denies those allegations.
  10           6.       Answering Paragraph 6, Defendant admits the allegations contained
  11     therein.
  12           7.       Answering Paragraph 7, to the extent that the paragraph sets forth any
  13     factual allegations rather than blanket statements of law, Defendant denies the
  14     allegations contained therein.
  15           8.       Answering Paragraph 8, Defendant denies the allegations contained
  16     therein.
  17           9.       Answering Paragraph 9, Defendant lacks sufficient information to form
  18     a belief about the truth of the allegations, and on that basis, denies those allegations.
  19           10.      Answering Paragraph 10, Defendant denies the allegations contained
  20     therein. Rather, Defendant admits that the City of Huntington Beach is a Municipal
  21     Corporation and Charter City organized and existing under a freeholder’s charter
  22     with plenary powers over its municipal affairs, including and without limitation,
  23     local zoning and land use matters, as authorized by Article XI, Section 5 of the
  24     California Constitution.
  25           11.      Answering Paragraph 11, Defendant admits that AT&T appears to seek
  26     declaratory and injunctive relief. However, Defendant denies that AT&T is entitled
  27     to any relief, whatsoever, under the law.
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    1           12.   Answering Paragraph 12, Defendant denies the allegations contained
    2    therein.
    3           13.   Answering Paragraph 13, Defendant will neither admit nor deny as the
    4    identified paragraph is not a factual allegation, but rather a proposed statement of
    5    law.
    6           14.   Answering Paragraph 14, Defendant will neither admit nor deny as the
    7    identified paragraph is not a factual allegation, but rather a proposed statement of
    8    law.
    9           15.   Answering Paragraph 15, Defendant will neither admit nor deny as the
  10     identified paragraph is not a factual allegation, but rather a proposed statement of
  11     law.
  12            16.   Answering Paragraph 16, Defendant will neither admit nor deny as the
  13     identified paragraph is not a factual allegation, but rather a proposed statement of
  14     law.
  15            17.   Answering Paragraph 17, Defendant will neither admit nor deny as the
  16     identified paragraph is not a factual allegation, but rather a proposed statement of
  17     law.
  18            18.   Answering Paragraph 18, Defendant will neither admit nor deny as the
  19     identified paragraph is not a factual allegation, but rather a proposed statement of
  20     law.
  21            19.   Answering Paragraph 19, Defendant will neither admit nor deny as the
  22     identified paragraph is not a factual allegation, but rather a proposed statement of
  23     law.
  24            20.   Answering Paragraph 20, Defendant will neither admit nor deny as the
  25     identified paragraph is not a factual allegation, but rather a proposed statement of
  26     law.
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    1           21.     Answering Paragraph 21, Defendant will neither admit nor deny as the
    2    identified paragraph is not a factual allegation, but rather a proposed statement of
    3    law.
    4           22.     Answering Paragraph 22, Defendant lacks sufficient information to
    5    form a belief about the truth of the allegations, and on that basis, denies those
    6    allegations.
    7           23.     Answering Paragraph 23, Defendant lacks sufficient information to
    8    form a belief about the truth of the allegations, and on that basis, denies those
    9    allegations.
  10            24.     Answering Paragraph 24, Defendant lacks sufficient information to
  11     form a belief about the truth of the allegations, and on that basis, denies those
  12     allegations.
  13            25.     Answering Paragraph 25, Defendant lacks sufficient information to
  14     form a belief about the truth of the allegations, and on that basis, denies those
  15     allegations.
  16            26.     Answering Paragraph 26, Defendant lacks sufficient information to
  17     form a belief about the truth of the allegations, and on that basis, denies those
  18     allegations.
  19            27.     Answering Paragraph 27, Defendant lacks sufficient information to
  20     form a belief about the truth of the allegations, and on that basis, denies those
  21     allegations.
  22            28.     Answering Paragraph 28, Defendant lacks sufficient information to
  23     form a belief about the truth of the allegations, and on that basis, denies those
  24     allegations.
  25            29.     Answering Paragraph 29, Defendant admits the allegation that AT&T
  26     proposed to install a wireless communications facility in the parking lot of a church
  27     located within a commercial zone within the City of Huntington Beach. However,
  28     Defendant denies the allegation that AT&T presented sufficient evidence showing


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    1    that there was a significant wireless service coverage gap in providing vital services
    2    near this area, and further denies the allegation that the Proposed Facility was
    3    “stealth.”
    4           30.   Answering Paragraph 30, Defendant lacks sufficient information to
    5    form a belief as to manner, method, and extent of which AT&T “thoroughly”
    6    investigated alternative sites and designs, and on that basis, denies those allegations.
    7    Defendant admits the remainder of the allegations contained therein.
    8           31.   Answering Paragraph 31, Defendant will neither admit nor deny as the
    9    identified paragraph is not a factual allegation, but rather a proposed statement of
  10     law.
  11            32.   Answering Paragraph 32, Defendant lacks sufficient information to
  12     form a belief as to manner, method, and extent of which AT&T searched for viable
  13     collocation opportunities in the gap area, and on that basis, denies those allegations.
  14            33.   Answering Paragraph 33, Defendant admits the allegation that AT&T’s
  15     site analysis showed that it considered 12 candidate locations, including the Site,
  16     and eleven alternative locations. However, Defendant denies the allegation that the
  17     Site was the only feasible alternative for the Proposed Facility, and further denies
  18     the allegation that the Site was the only opportunity to close AT&T’s alleged
  19     coverage gap.
  20            34.   Answering Paragraph 34, Defendant lacks sufficient information to
  21     form a belief that the two alternative sites were “unavailable” due to the property
  22     owner’s failure to respond to “multiple overtures” made by AT&T in April and May
  23     of 2022, and on that basis, denies those allegations. Defendant admits the remainder
  24     of the allegations contained therein.
  25            35.   Answering Paragraph 35, Defendant admits the allegations contained
  26     therein.
  27            36.   Answering Paragraph 36, Defendant admits the allegations contained
  28     therein.


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    1          37.    Answering Paragraph 37, Defendant admits the allegations contained
    2    therein.
    3          38.    Answering Paragraph 38, Defendant admits the allegations contained
    4    therein.
    5          39.    Answering Paragraph 39, Defendant denies the allegation that the
    6    Proposed Facility was the only viable site available to close AT&T’s alleged
    7    coverage gap. Defendant admits the remainder of the allegations contained therein.
    8          40.    Answering Paragraph 40, Defendant admits the allegations contained
    9    therein.
  10           41.    Answering Paragraph 41, Defendant admits the allegations contained
  11     therein.
  12           42.    Answering Paragraph 42, Defendant denies the allegation that the
  13     Proposed Facility was the least intrusive means to close the alleged coverage gap.
  14     Defendant admits the remainder of the allegations.
  15           43.    Answering Paragraph 43, Defendant admits the allegations contained
  16     therein.
  17           44.    Answering Paragraph 44, Defendant lacks sufficient information to
  18     form a belief as to date in which AT&T’s representatives reviewed the City’s
  19     written denial of its application, and on that basis, denies those allegations.
  20     However, Defendant admits the allegation that notice of the denial was issued on or
  21     around July 26, 2023.
  22           45.    Answering Paragraph 45, Defendant admits the allegations contained
  23     therein.
  24           46.    Answering Paragraph 46, Defendant denies the allegations contained
  25     therein.
  26           47.    Answering Paragraph 47, Defendant denies the allegations contained
  27     therein.
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    1           48.    Answering Paragraph 48, Defendant admits the allegation that it
    2    proposed a minimum of three alternative sites for construction of the proposed
    3    facility. However, Defendants denies the allegation that it did not evaluate the
    4    availability or feasibility of those sites.
    5           49.    Answering Paragraph 49, Defendant denies the allegation that the
    6    proposed sites located at 17191 and 17262 Beach Boulevard were “unavailable” and
    7    that AT&T exercised due diligence in its attempt, if any, to secure the availability of
    8    these sites. Defendant admits the allegation that these two proposed sites were
    9    identified in AT&T’s Application.
  10            50.    Answering Paragraph 50, Defendant admits the allegation that the
  11     property located at 17373-17479 Beach Boulevard was proposed as an alternate site.
  12     However, Defendant denies the allegation that AT&T exercised diligence and
  13     further denies the allegation that AT&T relied upon any credible evidence showing
  14     insufficient space for the Proposed Facility at this particular site.
  15            51.    Answering Paragraph 51, Defendant admits the allegations contained
  16     therein.
  17            52.    Answering Paragraph 52, Defendant lacks sufficient information to
  18     form a belief as to whether AT&T made a good faith and reasonable attempt to
  19     secure a lease from the property owner at 17191 Beach Boulevard, and on that basis,
  20     denies the allegations contained therein.
  21            53.    Answering Paragraph 53, Defendant lacks sufficient information to
  22     form a belief as to whether AT&T made a good faith and reasonable attempt to
  23     secure a lease from the property owner at 17262 Beach Boulevard, and on that basis,
  24     denies the allegations contained therein.
  25            54.    Answering Paragraph 54, Defendant lacks sufficient information to
  26     form a belief as to whether AT&T made a good faith and reasonable attempt to
  27     secure a lease from the property owner at 17473-17479 Beach Boulevard, and/or
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    1    that there was insufficient space available at this location, and on that basis, denies
    2    the allegations contained therein.
    3          55.    Answering Paragraph 55, Defendant denies the allegations contained
    4    therein.
    5          56.    Answering Paragraph 56, Defendant denies the allegations contained
    6    therein.
    7          57.    Answering Paragraph 57, Defendant denies the allegations contained
    8    therein.
    9          58.    Answering Paragraph 58, Defendant admits the findings of the
  10     Planning Commission Staff Report are as alleged therein. However, Defendant
  11     denies those findings as fact, and further denies any insinuation that the Planning
  12     Commission Staff Report represents the City and/or City Council’s official findings
  13     and basis for its denial of AT&T’s Application.
  14           59.    Answering Paragraph 59, Defendant denies the allegations contained
  15     therein.
  16           60.    Answering Paragraph 60, Defendant denies the allegations contained
  17     therein.
  18           61.    Answering Paragraph 61, Defendant denies the allegations contained
  19     therein.
  20           62.    Answering Paragraph 62, Defendant denies the allegations contained
  21     therein.
  22           63.    Answering Paragraph 63, due to the vague and ambiguous description
  23     of the properties identified, Defendant lacks sufficient information to form a belief
  24     as to the truth of the allegations, and on that basis the denies the allegations
  25     contained therein. In addition, Defendant denies the allegations insofar as they
  26     attempt to show the properties identified are substantially similar to the Proposed
  27     Facility and Site.
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    1           64.   Answering Paragraph 64, Defendant denies the allegations contained
    2    therein.
    3           65.   Answering Paragraph 65, Defendant denies the allegations contained
    4    therein.
    5           66.   Answering Paragraph 66, Defendant incorporates all prior admissions
    6    and denials in Answer to Paragraphs 1 through 65.
    7           67.   Answering Paragraph 67, Defendant lacks sufficient information to
    8    form a belief as to whether AT&T has a “gap in service coverage” in the vicinity of
    9    the Proposed Facility and/or whether the alleged “gap in service coverage” was
  10     significant, and on that basis denies the allegations contained therein.
  11            68.   Answering Paragraph 68, Defendant lacks sufficient information to
  12     form a belief as to whether AT&T has a “gap in service coverage” in the vicinity of
  13     the Proposed Facility and/or whether the alleged “gap in service coverage” was
  14     significant, and on that basis denies the allegations contained therein.
  15            69.   Answering Paragraph 69, Defendant denies the allegations contained
  16     therein.
  17            70.   Answering Paragraph 70, Defendant admits that AT&T provided the
  18     City with “a reason” why it chose the Site. However, Defendant denies that AT&T
  19     was diligent or reasonable in its analysis of alternate sites, and further denies that
  20     there were not any alternate and less intrusive sites available for the Proposed
  21     Facility.
  22            71.   Answering Paragraph 71, Defendant denies the allegations contained
  23     therein.
  24            72.   Answering Paragraph 72, Defendant denies the allegations contained
  25     therein.
  26            73.   Answering Paragraph 73, Defendant denies the allegations contained
  27     therein.
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     1          74.    Answering Paragraph 74, Defendant denies the allegation that the City
     2    has any cognizable legal duty or burden to show that AT&T did not have a
     3    significant gap in personal wireless service prior to issuing the Denial.
     4          75.     Answering Paragraph 75, Defendant denies the allegations contained
     5    therein.
     6          76.    Answering Paragraph 76, Defendant denies the allegations contained
     7    therein.
     8          77.    Answering Paragraph 77, Defendant denies the allegations contained
     9    therein.
   10           78.    Answering Paragraph 76, Defendant denies the allegations contained
   11     therein.
   12           79.    Answering Paragraph 79, Defendant incorporates all prior admissions
   13     and denials in Answer to Paragraphs 1 through 78.
   14           80.    Answering Paragraph 80, Defendant denies the allegations contained
   15     therein.
   16           81.    Answering Paragraph 81, Defendant admits that AT&T presented some
   17     evidence of its alleged need to construct the Proposed Facility, and that construction
   18     of such a facility would require a conditional use permit. However, Defendant
   19     denies any allegation that the evidence submitted by AT&T was sufficient to justify
   20     the construction of the Proposed Facility at the Site.
   21           82.    Answering Paragraph 82, Defendant denies the allegations contained
   22     therein.
   23           83.    Answering Paragraph 83, Defendant denies the allegations contained
   24     therein.
   25           84.    Answering Paragraph 84, Defendant denies the allegations contained
   26     therein.
   27           85.    Answering Paragraph 85, Defendant incorporates all prior admissions
   28     and denials in Answer to Paragraphs 1 through 84.


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     1           86.   Answering Paragraph 86, Defendant will neither admit nor deny as the
     2    identified paragraph is not a factual allegation, but rather a statement of law.
     3           87.   Answering Paragraph 87, Defendant denies the allegations contained
     4    therein.
     5           88.   Answering Paragraph 88, Defendant denies the allegations contained
     6    therein.
     7           89.   Answering Paragraph 89, Defendant denies the allegations contained
     8    therein.
     9           90.   Answering Paragraph 90, Defendant incorporates all prior admissions
   10     and denials in Answer to Paragraphs 1 through 89.
   11            91.   Answering Paragraph 91, Defendant will neither admit nor deny as the
   12     identified paragraph is not a factual allegation, but rather a proposed statement of
   13     law.
   14            92.   Answering Paragraph 92, Defendant denies the allegations contained
   15     therein.
   16                             FIRST AFFIRMATIVE DEFENSE
   17            The First Amended Complaint fails to state a claim upon which relief can be
   18     granted.
   19                           SECOND AFFIRMATIVE DEFENSE
   20            Defendant is a Municipal Corporation and Charter City organized and
   21     existing under a freeholder’s charter with plenary powers over its municipal affairs,
   22     including and without limitation, local zoning and land use matters, as authorized by
   23     Article XI, Section 5 of the California Constitution.
   24                             THIRD AFFIRMATIVE DEFENSE
   25            The Telecommunications Act (47 U.S.C. § 332(c)(7)(A)) does not prevent
   26     municipalities from exercising their traditional prerogative to restrict and control
   27     development based on aesthetic considerations, nor does the Act preempt state or
   28     local government entity’s conduct that does not amount to regulation. Southwestern


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     1    Bell Mobile Sys. v. Todd (1st Cir. 2011) 244 F.3d 51; Sprint Spectrum v. L.P. v. Mills
     2    (2nd Cir. 2022) 283 F.3d 404.
     3                            FOURTH AFFIRMATIVE DEFENSE
     4           Pursuant to 47 U.S.C. § 332, Defendant’s decision to deny a request to place,
     5    construct, or modify personal wireless service facilities, if any, is supported by
     6    substantial evidence.
     7                              FIFTH AFFIRMATIVE DEFENSE
     8           Plaintiff’s failure to consider feasible and less intrusive alternatives serve as a
     9    bar to its claim for relief.
   10                              SIXTH AFFIRMATIVE DEFENSE
   11            The alleged actions of Defendant as identified in the First Amended
   12     Complaint were required and/or justified by controlling law.
   13                             SEVENTH AFFIRMATIVE DEFENSE
   14            Plaintiff failed to act in good faith and/or exercise reasonable diligence at all
   15     relevant times identified in the First Amended Complaint.
   16
   17            WHEREFORE, Defendant prays that Plaintiff take nothing by way of its First
   18     Amended Complaint and that this Defendant herein recover their costs and such
   19     other and further relief as the Court may deem just and proper.
   20
   21     DATED: December 4, 2023                  MICHAEL E. GATES, City Attorney
   22
   23                                       By:         /s/ Ryan E. Lumm          .
                                                   RYAN LUMM, Sr. Deputy City Attorney
   24                                              Attorney for Defendant
   25                                              CITY OF HUNTINGTON BEACH
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     1                              DEMAND FOR JURY TRIAL
     2    TO THE CLERK OF THE ABOVE-ENTITLED COURT:
     3          PLEASE TAKE NOTICE that Defendant CITY OF HUNTINGTON BEACH
     4    demands trial by jury in the above-entitled action pursuant to Federal Rules of Civil
     5    Procedure 38(b) and Local Rule 38-1.
     6
     7    DATED: December 4, 2023                MICHAEL E. GATES, City Attorney
     8
     9
                                          By:         /s/ Ryan E. Lumm          .
                                                 RYAN LUMM, Sr. Deputy City Attorney
   10                                            Attorney for Defendants
   11                                            CITY OF HUNTINGTON BEACH
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     1                           PROOF OF SERVICE OF PAPERS
     2           I am employed in the County of Orange, State of California. I am over the
     3    age of 18 and not a party to the within action; my business address is 2000 Main
          Street, Huntington Beach, CA 92648.
     4
     5          On December 4, 2023, I served the foregoing document(s) described as:
     6
          ANSWER TO FIRST AMENDED COMPLAINT BY DEFENDANT CITY OF
          HUNTINGTON BEACH on the interested parties in this action by placing a true
     7    copy thereof in a sealed envelope addressed as follows:
     8
          Raymond P. Bolanos, Esq.                       Attorney for Plaintiff
     9    AT&T SERVICES, INC., LEGAL DEP'T               New Cingular Wireless PCS, LLC
   10     430 Bush Street, 6th Floor                     d/b/a AT&T Mobility
          San Francisco, CA 94108                        Telephone: 415.268.9491
   11
                                                         Facsimile: 415.543.0418
   12                                                    raymond.bolanos@att.com
   13
          AARON M. SHANK (Pro Hac Vice)                  Pro Hac Vice Attorney for Plaintiff
   14     PORTER WRIGHT MORRIS &                         New Cingular Wireless PCS, LLC
   15     ARTHUR LLP                                     d/b/a AT&T Mobility
          41 South High Street, Suites 2800 - 3200       Telephone: 614.227.2110
   16
          Columbus, OH 43215                             Facsimile: 614.227.2100
   17                                                    ashank@porterwright.com
   18
                a.      [X] BY MAIL -- The envelope was sealed and placed for collection
   19     on the date listed above. I am readily familiar with the business practice at my place
   20     of business for collection and processing of correspondence for mailing with the
          United States Postal Service. Correspondence so collected and processed is
   21     deposited with the United States Postal Service that same day in the ordinary course
   22     of business.
   23
                 I declare under penalty of perjury under the laws of the State of California
   24     that the foregoing is true and correct.
   25
                Executed on December 4, 2023, in Huntington Beach, California.
   26
   27                                            ____________________________
                                                 MICHELE HOFFMAN
   28


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